Case 1:16-cv-00812-CC Document 1-2 Filed 03/11/16 Page 1 of 15

 

 

 

 

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Date: 1/29/2016 2:35:09 PM
Cathelene Robinson, Clerk
IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA
ialaae.| Wh Ison CIVIL ACTION FILE NUMBER:
2016CV270806
Plaintiff

VS,
Wovinemay, East, Tine. +
Soa. Raw “Boats “Tne a

' ‘ 4 J
“Division ot “Pyunswie. Covp,
Defendant

SUMMONS
TO THE ABOVE NAMED DEFENDANT: MOsinemax Fost, Ine,

You are hereby summoned and required to file with the Clerk of sald court and serve upon
the Plaintiffs attorney, whose name and address is:

T. Michael Flinn
402 ‘Tanner Street
Carrollton, Goorgia 30117

an answer to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of'service. [F you fail to do so, Judgment by default will
be taken against you for the rellef demanded in the complaint,

1/29/2016 2016.

By: Ak bald hay.

Clerk/Deputy Clerk

This day of _
Case 1:16-cv-00812-CC Document1-2 Filed 03/11/16 Page 2 of 15

' Fulton County Superior Court
++*EFILED* "BR

Date: 1/29/2016 2:35:08 PM

Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY
STATE OF GEORGIA

MICHAEL WILSON,

Plaintiff,
-Vv8- : CIVIL ACTION FILE NO, 2016CV270806
MARINEMAX BAST, INC, and
SEA RAY BOATS, INC., A DIVISION ;
OF BRUNSWICK CORPORATION, ,

Defendants. ;

COMPLAINT

Comes Now MICHAEL WILSON, Plaintiff in the above styled case, and files this its
Complaint against MarineMax, East, Inc. and Sea Ray Boats, Inc., a division of Brunswick Boat
Group, and shows this Court the following:

1,

Defendant, MarineMax East, Inc, (hereinafter “Dealer”), is a dealership whose principle place
of business is located at 5800 Lanier Islands Parkway, Buford, Georgia 30518, and is subject to the
jurisdiction of and within the venue of this Court, Defendant may be served through its registered
agent Corporate Creations Network, Inc., 2985 Gordy Parkway, 1" Floor, Marietta, Georgia 30066,

Defendant, Sea Ray Boats, Inc., a division of Brunswick Corporation, (hereinafter “Sea Ray”)
is a corporation authorized to do business in the State of Georgia and is subject to the jurisdiction
of and within the venue of this Court. Defendant may be served through its Registered Agent, CT

Corporation System, 1201 Peachtree Street, NE, Atlanta, Georgia 30361.

 
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2.

Plaintiff Michael Wilson (“Plaintiff”) visited Dealer on October 16, 2013, and purchased
a new 2014 Sea Ray 350 (hereinafter referred to as “boat””), Serial No,; SERP8266K314, See
Purchase Agreement (Exhibit A), The boat was delivered to Lake Lanier in mid to late February,
2014. Plaintiff requested that the boat stay at Lake Lanier for several weeks just to be sure all was
okay before moving the boat to Lake Allatoona,

3,

As early as March 2, 2014, Plaintiff began experiencing problems with the boat, including;

a) engine error codes and failures;

b) Kohler generator had to be replaced;

)) the remote spotlight has not worked since early summer of 2015;

d) catastrophic failure on the Windlass Anchor (that neither Sea Ray, MarineMax nor

the $7,000.00 extended warranty would cover;

©) the Port engine has a constant alarm indicating “DRIVE LUBE LOW”;

f) the Starboard engine has a constant alarm indicating “MISFIRE”; and

g) the Bilge Blower motor has failed.

4,

August 20, 2014, at the recommendation of Bob Dinman with MarineMax, Plaintiff had
Lakeland Power come out to service the generator. This recommendation was made because
MarineMax technicians could not solve the ongoing problem with the generator. As part of the
service, water was found in the piston/cylinder walls, Through the process of elimination it was
discovered that there js a design flaw in the boat and the water actually came into the generator

through the impeller inlet. Plaintiffstates that on Monday, August24, 2015, Tom Rienmana, General

 
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Manager of MarineMax Baldridge emailed Plaintiff indicating that Sea Ray knew of the DESIGN
DEFECT problem.
3
Plaintiff relied on Defendants’ representations that the boat was in good working condition
and primarily based his decision to purchase the boat on Defendants’ representations and the
warranty. Further, itis unreasonable for Defendants to believe that Plaintiff would accept a tender
ofa boat which would require the replacement of entire components at such an early time frame.
6.
Plaintiff suffered damages in the form of mental anguish and stress for which Plaintiff now
seeks recovery,
7.
Defendants have breached its contract with Plaintiff by misrepresenting the actual condition
of the subject boat and failing to make repairs and/or falling to make repairs in a workmanlike
manner and in a timely manner,

COUNT I
REJECTION OF DEFECTIVE TENDER

8,

Plaintiff realleges all allegations contained in paragraph 1 through 7 above as though each
was fully set out herein. Further, at all times material herein Defendants were merchants regularly
engaged in the business of selling new and used boats.

9.
The above facts entitled Plaintiff to and Plaintiff did reject acceptance of the 2014 Sea Ray

350, after reasonable time after delivery and in any event, within a reasonable time for inspection
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of the boat, and by reason of the defendant Dealers' breach of contract to make proper delivery and
of warranties of merchantability, Plaintiff has been damaged in the sum of all sums paid on the
contract.

COUNT I

REVOCATION OF ACCEPTANCE

10.
Plaintiff realleges all allegations contained in paragraph 1 through 9 above as though each

was fully set outherein, Further, at all times material herein Defendants were merchants regularly

engaged in the business of selling new and used boats.

ll.
Defendants, in order to induce Plaintiff to purchase said boat, represented thatit was a high
quality product, of good sound construction, and was in every way fit and suitable for use as a
personal boatby Plaintiff, Defendants further represented that any defects present in the boat would
be repaired promptly.
12.
Mr. Wilson relied onthe aforesaid representation of Defendants and believed them to be true.
Mr, Wilson accepted said boat when it was delivered becauseno material defects were then apparent
and because of Defendants’ aforesaid assurance that any defect would be promptly repaired.
13.
Shortly after the said boat was delivered to Mr. Wilson, the following material defects were
discovered:
8) engine error codes and failures;

b) Kobler generator had to be replaced,

 
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)) the xemote spotlight has not worked since early summer of 2015;

d) catastrophic failure on the Windlass Anchor (that neither Sea Ray, MarineMax nor

the $7,000.00 extended warranty would cover;

e) the Port engine has a constant alarm indicating “DRIVE LUBE LOW”;

f) the Starboard engine has a constant alarm indicating “MISFIRE”: and

B) the Bilge Blower motor has failed,

14,

Immediately after the discovery of such defects, Plaintiff immediately notified Defendants
of said defects and Defendants represented to Plaintiff that said defects would be repaired and that
the boat purchased by Plaintiff would then be as good as new.

15,

The defects were not corrected although Defendants were given ample opportunity to correct
them. Such defects substantially impaired the value of said boat to Plaintiff as a personal boat.
Further, Plaintiff's faith in the boat as a personal boat was shaken.

16,
Following receipt of the boat and within a reasonable time following delivery, Plaintiff
revoked his acceptance of the boat,
17.
Defendants have refused to repurchase said boat.
18,
Plaintiff has suffered damage by reason of Defendants! actions in the sum of all sums paid

on the contract,
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COUNT II
BREACH OF EXPRESS WARRANTY
19,

Plaintiff realleges all allegations contained in paragraph 1 through 18 above as though each
was fully set out herein, Further, at all times material herein Defendants were merchants regularly
engaged in the business of selling new and used boats.

20,

On October 16, 2013, Plaintiff purchased from Defendant Dealer a new 2014 Sea Ray 350,
Serial No,; SERP8266K314, This boat had been manufactured by Defendant Sea Ray Boats, Inc.,
a division of Brunswick Corporation,

21.

Plaintiff was the "buyer" under 0.C.G.A, § 11-2-103.
22.

Defendant Dealer is a "seller" under O.C,G.A. §11-2-103,
23.

Defendant Sea Ray is a "seller" under 0.C,G.A. § 11-2-103.
24.

The boat constituted "goods" under O.C.G.A.§ 11-2-105. Further Plaintiff realleges each
and every allegation set out in paragraphs 1 through 23 above as though each were fully set out
herein.

25.
Plaintiff's purchase of the boat was accompanied by an express warranty offered by

manufacturer and extended to Plaintiff. The aforesaid warranty was part of the basis of the bargain

 
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of the contract between Plaintiff and seller for the sale of the boat.
26,

In this express warranty, manufacturer warranted that the boat was free from all defects in
material or workmanship, and that if any such defects were discovered within a specified period
manufacturer would provide for repair of the boat free of charge to Plaintiff or at a minimal charge
to Plaintiff.

27.

In fact, when delivered, the boat had material defects which are hereby ze-alleged from

paragraphs 1 through 26 as though they were fully set out herein. The defects were discovered within

the warranty period,

28.

Within, a reasonable time of discovering each defect, Plaintiff orally and by letter notified

Defendants of the defects as provided in the express warranty,
29.

Plainltiff provided to Dealer, and through Dealer, to Sea Ray Boats, Inc., as directed in the
express warranty, sufficient opportunity to repair or replace the boat as shown by the service orders
as well other opportunities not shown by service orders.

30.

Plaintiff as met all Plaintiff's obligations and preconditions as provided in the express

warranty,
31,
Defendants have failed to adequately repair the boat in a timely fashion as provided in the

express warranty, and Plaintiff believes that the boat is still in a defective condition.
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32.
The defeots present in the boat could not reasonably have been discovered by Plaintiff prior
to Plaintiff's acceptance of the boat,
33,
Plaintiff orally notified Defendants that he revoked his acceptance of the boat and also did
30 by letter from his attorney dated November 2, 2015,
34,
As of that date, the boat was in substantially the same condition as at delivery, except for
damage caused by its own defects.
35,
Defendants have refused Plaintiff's revooation and have refused to provide Plaintiff with
the remedies to which Plaintiff is entitled upon revocation,
36,
Plaintiff has been damaged by reason of the aforesaid actions in the amount of all sums

paid on the contract and attomey's fees.

COUNT IV
BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
97.

Plaintiff re-alleges the allegations contained in paragraphs 1 through 36 above as though
each were fully set out herein.

38,

Defendants are merchants with respect to boats under O,C.G.A.§ 11-2-104.,

 
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+

39,
The boat purchased by Plaintiff was subject to implied warranties of merchantability under
0.C.G.A, §11-2-314, running from Defendants to the benefit of Plaintiff.
40.
The defects described in the paragraphs above rendered the boat unmerchantable.
41,

Sea Ray has failed to adequately remedy the defects in the boat and the boat is still in an
unmerchantable condition, which all damages Plaintiff in the amount ofall sums paid on the contract
and attorneys fees.

COUNT V

BREACH OF WRITTEN WARRANTY UNDER THE
MAGNUSON-MOSS WARRANTY ACT

42.
Plaintiff re-alleges each allogation contained in paragraphs 1 through 41 above as though
each were fully set out herein.
43,
Plaintiff'is a consumer as defined in the Magnuson-Moss Warranty Act (herein Warranty
Act) 15 USC Seo, 2301 (3).
44,
Sea Ray is a supplier and warrantor as defined in the Warranty Act, 15 USC Seo. 2301 (4)
(5).
45.

The boat is "consumer products" as defined in the Warranty Act, USC, § 2301 (1),

 
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a

46,
The boat was manufactured after July 4, 1975,
47.
The above described actions constitute breach of the written warranty by Sea Ray.
48,
Wherefore, Plaintiff is entitled to recovery in the amount of all sums paid on the contract
as described above; and in addition is entitled to actual attorney's fees reasonably incurred in
connection with the commencement and prosecution of this action; to costs of this action; and to

other legal and equitable relief as the Court may deem proper.

COUNT VI
BREACH OF IMPLIED WARRANTY UNDER
THE MAGNUSON-MOSS W. TY ACT
49,

Plaintiff re-alleges the allegations contained in paragraphs 1 through 48 above as though
each were fully set out herein,
50,
The above-described actions constitute a breach of the implied warranty of merchantability
actionable under the Warranty Act, 15 USC Seo, 2310 (d) (1).
51.
Wherefore, Plaintiffis entitled to recovery in the amount of all sums paid on the contract and
actual attorey's fees reasonably incurred in connection with the commencement and prosecution of

this action; and other legal and equitable relief as the Court may deem proper.
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COUNT VIL
DECEPTIVE OR UNFAIR TRADE PRACTICE
52,

Plaintiff re-alleges the allegations of paragraphs 1 through 51 as though each were set out
fully herein.

53,

The above stated. acts constitute deceptive trade practices within the meaning of O.C.G.A,
§10-1-393 (b)(5) and (b)(7) entitling Plaintiffto treble actual damages, attorneys fees, and exemplary
damages in an amount to be determined by the enlightened conscience of a jury.

54,

Plaintiff shows the Court that he has made effort to compromise with the respective

Defendants and haye previously advised said Defendants that he has legitimate claims and defenses
to the contract. Plaintiff shows the Court that this has put Plaintiff to unnecessary trouble and
expense, and the refusal of Defendants to cancel the contract and refund the monies paid to it
thereunder has been in bad faith and stubbornly litigious under the facts and circumstances of this

case.

WHEREFORE, Plaintiff prays:

a) that judgment be entered in Plaintiff's favor in the amount of all sums paid on the
contract actual damages;

b) that Plaintiff be awarded reasonable attorneys fees;
c) that Plaintiff be awarded exemplary damages;

d) that all sums paid by Plaintiff be returned to Plaintiff along with Plaintiff's trade-in
allowance;

 
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e) that Plaintiffbe awarded such fies relief ashe is $ entitled to under the statutes cited

above; and . ,
f) for such other and further legal dnd oie relief ag Plaintshmiay be entifled: to
vader the premises.

This the 114 day of January, 2016. ie
BAW. OFFICES OF T.MICHARL FLINN *

 

BY: _/s/'T. Michael Flinix

 

“E. Michael Flinn ee
Attorney for Plaintiff
State Bar Number 264530.
402 Tanner Street f°
Carrollton, Georgia 30117
(770) 832-0300
tmichael@georglaconsumerlawyer.com
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Civil ActionNo. OCA CN - OG ACEOle State Court O _— Probate Court oO

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Date Filed _J(11 1 \ Ly tS) ex L Georgia, Pic yy) co

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Name and Address of Party to be Served,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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: J
Ihave this day served the defendant : peraonally with e copy
of the within action and summons.
I have this day served the defendant by leaving a
copy of the action and summons at his mast notorlaus place of abode in this County.
Delivered same into hands of described as follows:
age, about __..___. year welght_____. pounds; height, about feet and inches, domiciled at the residence of
defendant.
Served’the defendant Ay fh Is ‘Ye tek EAS f STH cy a corporation
leaving « copy of the within action and summona with th bet Lt pp Ze2 le “ae

 

7
in charge of the office and place of doing business of sald Corporation in this County.

 

Ihave thls day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises designated in said
affidavit, and on the same day of such posting by depositing o true copy of same in the United States Mail, First Class in an envelope properly addressed: to tho
defendant(s) at tho address shown in said summons, with adequate postage affixed thereon containing wolice to the defendant(s) to answer sald summons at the
place stated in the summons. .

 

Diligent search.made ond defendant
not to be found in the Jurisdiation of this Court,

 

 

 

 

 

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See ee
- SHENFF'S ENTRY OF SERVICE SC-85-2_ CLYOE CASTLEBERAY CO. COVINGTON, GA 90015
Superior Court kK) —s- Magistrate Court O
Civil Action No. MOW - CN- ATOR, State Court [) Probate Court o
Juvenile Court oO

Date rics SO.CUGUL BOQ, OO Ibe Georgia, Futon COUNTY
Uicindes Lise

 

_Attorney's Address >
\ Wichoct | F ne o+ Plaintiff

LOO VS.
Carrollton, CA col) avineWiay ECOst, Tine +

Name and Address of Party to be Served.

_ OW
yh Vis YOO) ve “DVisiG@ t "Pronancc Comp Defendant

 

 

 

 

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Thave this day served the defendant personally with a copy
C1 of the within action and summons. Fulton County Superior Court
& *“"EFILED*" QW
7 Date-2/22/20+46-9-04-39-Arvt
Cathelene Robinso

l have this day served the defendant inson, Clerk by leaving a
3 copy of the action and summons at his most notorious place of abode in this County.
3 (1 Delivered same into hands of described as follows:
9 age, about years; weight pounds; height, about feet and inches, domiciled at the residence of

defendant.

Served the defendant : L a corporation

leaving a copy of the within action and summons with J Metter

 

in charge of the office and place of doing business of said Corporation in this County,

 

I bave this day served the above styled affidavit and summons on the defendant(s) by posting @ copy of the same to the door of the premises designated in said
affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an envelope properly addressed to the

0 defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the
place stated in the summons,

TACK & MAIL CORPORATION

 

 

Diligent search made and defendant
not to be found in the jurisdiction of this Court.

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DEPUTY

SHERIFF DOCKET______ PAGE ___-__-

WHITE-CLERK  CANARY-PLAINTIF PIWK-OBFENOANT
